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ll. ATTORNEY'S NAME §First Naine. |\‘|.l,, Last Nzime, including any suf|`ix} 13. COURT ORDER ,"Zj\ q .’-`i.
AND MA|LINC ADDRE S § O Appo|nting C`ounsel m C Co-Counsel ~ ¢ `J`_
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Ei Bei:ause the above-named person represented has testified under oath,dr,“h:a's'[ "

otherwis :‘ ;. ed this court that he or she (l) ls financially unable to empl§'§flms'ei'and
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appears ln lie appointed to represent this person i

  
 

14. NAME AND .VlAlLINC ADDRESS OF LAW' FIRM (onl_\' provide per instrllciions)

 
 

 

 

 

 

 

  
   
 
  

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 
 
  

 

 

      

 

 

 

 

 

 

 

 

 

 

 

 

     
   

 

 

 

 

 

 

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MICHAEL J. STENGEL Pc 152
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Michacl J. Stengcl
STENGEL LAW FIRM
50 North Front Strcct

Ste. 850

Mcmphis7 TN 38103--111

Timothy R. DiScana

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lcmphis7 TN 38103

Honorablc J. Breen
US DISTRICT COURT

